        Case 1:23-cv-12025-MRG            Document 31       Filed 03/03/25      Page 1 of 10




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



  WAYLEN BLOCK,

         Plaintiff,

         v.                                                         Case No. 1:23-CV-12025-MRG

  THE UNITED STATES OF AMERICA,

         Defendant.




  GUZMAN, D.J.

                            MEMORANDUM AND ORDER ON
                      DEFENDANTS’ MOTION TO DISMISS [ECF No. 16]

I.    Introduction
         This is a prison conditions case. Pro Se Plaintiff Waylen Block, a federal prisoner,

  alleges that Defendant United States of America violated his Eighth Amendment 1 rights by

  subjecting him to deplorable living conditions during his incarceration that included repeatedly

  ignoring his medical needs. Consequently, he alleges, he has suffered acute kidney failure,

  irreversible damage to his vision, and mental and physical distress. Plaintiff has not specified the

  exact form of relief sought.

         This matter is before the Court on Defendants' motion to dismiss [ECF No. 16].

  Defendant’s principal argument is that Plaintiff’s Eighth Amendment claim is barred by the




  1
   The Eighth Amendment prohibits, among other things, infliction of “cruel and unusual
  punishments.” U.S. Const. Amend. VIII.
                                                   1
            Case 1:23-cv-12025-MRG             Document 31        Filed 03/03/25      Page 2 of 10




      doctrine of sovereign immunity. This Court agrees. For the reasons stated below, the motion to

      dismiss will be GRANTED and the case will be DISMISSED WITH PREJUDICE.

II.      Background & Preliminary Matters

             a. Procedural History
             Shortly after Plaintiff filed his initial pro se complaint [ECF No. 1] and motion to

      proceed in forma pauperis [ECF No. 2], the Court granted the latter motion. [ECF No. 5]. In

      turn, Defendant moved for a more definite statement [ECF No. 13], requesting that Plaintiff

      more clearly articulate which of his allegations purportedly stated a claim under the Federal Tort

      Claims Act (“FTCA”). [ECF No. 14]. In response and before the Court had ruled on the motion

      for a more definite statement, Plaintiff filed a letter detailing his allegations and his legal theory

      of the case -- which is that Defendant violated his Eighth Amendment rights. [ECF No. 15].

             Notably, Plaintiff’s more definite statement did not make any reference to claims arising

      under the FCTA. See [id.] Defendant then moved to dismiss for lack of subject matter

      jurisdiction under Fed. R. Civ. P. 12(b)(1) [ECF No. 16], with their memorandum in support

      targeting Plaintiff’s more definite statement. [ECF No. 17]. Defendant’s principal argument is

      that subject matter jurisdiction is lacking because Plaintiff’s claim is barred by the doctrine of

      sovereign immunity. [Id at 3]. Plaintiff filed a response [ECF No. 20] that referred to alleged

      actions and inactions of the Federal Bureau of Prisons (“BOP”), but which did not attempt to

      name that agency as an additional Defendant. [ECF No. 20 at 1-3]. Moreover, Plaintiff’s

      response did not purport to allege any legal claims other than his Eighth Amendment claim. See

      [ECF No. 20 at 2-3].




                                                        2
      Case 1:23-cv-12025-MRG           Document 31        Filed 03/03/25      Page 3 of 10




       b. The Operative Complaint

       Before it can reach the merits of Defendant’s motion to dismiss, the Court must first

determine which of Plaintiff’s multiple pleadings constitutes the operative complaint. E.g., [ECF

No. 1]; [ECF No. 15]; [ECF No. 20]; [ECF No. 24]. After careful review, the Court concludes

that Plaintiff’s letter [ECF No. 15] is the operative complaint. Plaintiff filed this document just

eighteen days after Defendant filed its motion for a more definite statement, and, moreover, did

not later dispute Defendant’s contention that this document constituted his more definite

statement. See [ECF No. 17 at 2].

       Accordingly, the Court may not and will not consider the contents of the original

complaint [ECF No. 1] or other documents on the docket appearing to detail Plaintiff’s

allegations. See e.g., ConnectU LLC v. Zuckerberg, 522 F.3d 82, 91 (1st Cir. 2008) (“[I]t is

clear beyond hope of contradiction that the Civil Rules permit a party to amend its complaint

‘once as a matter of course at any time before a responsive pleading is served.’ An amended

complaint, once filed, normally supersedes the antecedent complaint. Thereafter, the earlier

complaint is a dead letter and ‘no longer performs any function in the case’”) (citations omitted).

In other words, Plaintiff’s filing of a more definite statement rendered his original complaint a

“dead letter” and the Court will not consider its contents. Thus, the Court’s motion to dismiss

analysis will focus only on the allegations contained within Plaintiff’s more definite statement

[ECF No. 15] (hereafter, “the Complaint”).

       c. Factual Background2
       At least as of the date of the Complaint, Plaintiff is a prisoner at Federal Medical Center,

Devens. Plaintiff alleges that during his incarceration, he has been subjected to “abhorrently


2
 Except as otherwise noted, the following facts are set forth as alleged in the Complaint. [ECF
No. 15].
                                                 3
         Case 1:23-cv-12025-MRG            Document 31          Filed 03/03/25    Page 4 of 10




   poor living conditions” which (a) led to his contracting COVID-19, and, consequently, acute

   kidney failure, as well as (b) aggravated his preexisting Central Serous Retinopathy (“CSR”), a

   serious eye disease. [ECF No. 15 at 1]. Plaintiff made repeated requests for medical treatment

   that were ignored -- presumably by prison officials and/or prison staff. [Id.] Plaintiff’s

   ophthalmologist called for additional treatment, too, and these requests were also ignored. [Id.]

   Specifically, Plaintiff alleges that his prescribed intravitreal injections were not provided in a

   timely manner -- leading to irreversible damage to his vision. [Id.] Plaintiff maintains that he

   now only has one functioning eye, and that these suboptimal conditions and treatments led to

   considerable mental and physical distress. [Id.]

          d. Plaintiff’s Legal Claim
          The gravamen of Plaintiff’s Complaint is that Defendant’s alleged actions and inactions

   violated the Eighth Amendment. See e.g., [id at 2 (“As defined by the U.S. Supreme Court, this

   [i.e., Defendant’s alleged deliberate indifference] constitutes ‘unnecessary and wanton infliction

   of pain’ proscribed by the Eighth Amendment”)]. Although Plaintiff did not specify exactly

   what type of legal remedy he was requesting, he made clear that he was seeking redress for an

   alleged constitutional violation. See [id (“In light of these circumstances, I am seeking legal

   recourse for the violation of my constitutional rights”)].

III.   Legal Standards

              a. In Forma Pauperis Prisoner Complaints and Pro Se Pleadings

          By statute, this Court is required to dismiss a complaint filed by a prisoner proceeding in

   forma pauperis “at any time” if the complaint is frivolous or malicious, fails to state claim, or

   seeks monetary relief against a defendant who is immune from liability. 28 U.S.C. §

   1915(e)(2)(B). At the same time, when plaintiff is proceeding pro se, the Court must construe



                                                    4
      Case 1:23-cv-12025-MRG            Document 31        Filed 03/03/25      Page 5 of 10




the complaint liberally. Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam). Indeed, a pro

se complaint, “however inartfully pleaded, must be held to less stringent standards than formal

pleadings drafted by lawyers….” Id. (citation omitted). However, pro se litigants “still must

comply with procedural and substantive law” and “[d]ismissal of a pro se complaint is

appropriate when the complaint fails to state an actionable claim.” Harihar v. United States Bank

Nat'l Ass'n, No. 15-cv-11880-ADB, 2017 U.S. Dist. LEXIS 50596, at *14 (D. Mass. Mar. 31,

2017) (citations omitted).

           b. Subject Matter Jurisdiction
       “‘Federal courts are courts of limited jurisdiction,’ possessing ‘only that power

authorized by Constitution and statute.’” Gunn v. Minton, 568 U.S. 251, 256 (2013) (citation

omitted). Subject matter jurisdiction “is never presumed,” Fafel v. Dipaola, 399 F.3d 403, 410

(1st Cir. 2005) (citation omitted), and “must be apparent from the face of the plaintiffs'

pleading[.]” Viqueira v. First Bank, 140 F.3d 12, 16 (1st Cir. 1998). The Court “must resolve

questions pertaining to its subject-matter jurisdiction before it may address the merits of a case.”

Donahue v. Boston, 304 F.3d 110, 117 (1st Cir. 2002) (citation omitted). Moreover, “the party

invoking the jurisdiction of a federal court carries the burden of proving its existence.” Murphy

v. United States, 45 F.3d 520, 522 (1st Cir. 1995) (citation omitted).

       A defendant may move to dismiss an action for lack of subject matter jurisdiction under

Fed. R. Civ. P. 12(b)(1).3 To determine if the plaintiff has carried their burden to show the

existence of subject matter jurisdiction, the Court “take[s] as true all well-pleaded facts in the

plaintiffs' complaints, scrutinize[s] them in the light most hospitable to the plaintiffs' theory of


3
  Even if a defendant does not challenge the existence of subject matter jurisdiction, the Court
has an independent “duty to ensure that they are not called upon to adjudicate cases which in fact
fall outside the jurisdiction conferred by Congress.” Esquilín-Mendoza v. Don King Prods. Inc.,
638 F.3d 1, 3 (1st Cir. 2011).
                                                 5
      Case 1:23-cv-12025-MRG            Document 31        Filed 03/03/25       Page 6 of 10




liability, and draw[s] all reasonable inferences therefrom in the plaintiffs' favor.” Fothergill v.

United States, 566 F.3d 248, 251 (1st Cir. 2009) (citation omitted). If the well-pleaded facts,

evaluated in that generous manner, do not support a finding of federal subject-matter jurisdiction,

the Court must dismiss the action. See id (citation omitted).

       For this Court to have subject matter jurisdiction in this case, Plaintiff must allege either

that this action raises a federal question, in that the cause of action arises under federal law, or

that this Court has diversity jurisdiction. See 28 U.S.C. § 1331 (federal question) and §

1332 (diversity). To establish diversity jurisdiction, plaintiff must assert that the parties are

citizens of different states and that the amount in controversy in this action exceeds $75,000. See

id. at § 1332(b).

           c. Sovereign Immunity
       Defendant’s principal argument is that sovereign immunity precludes Plaintiff’s claim .

[ECF No. 17 at 3]. The doctrine of sovereign immunity prevents the United States of America

from being sued without its consent. See e.g., Harper v. Rettig, 46 F.4th 1, 5-6 (1st Cir. 2022).

The terms of the United States’ consent to be sued in any court “define that court’s jurisdiction to

entertain the suit.” Id (citations omitted). Simply stated, federal courts lack subject matter

jurisdiction over claims against the United States in the absence of a sovereign immunity waiver.

Davallou v. United States, 998 F.3d 502, 504 (1st Cir. 2021). Moreover, a waiver of sovereign

immunity “cannot be implied but must be unequivocally expressed,” and, “[e]ven then, the

waiver must be strictly construed.” Harper, 46 F.4th at 6 (citations omitted). To be sure,

plaintiffs suing the federal government bear the burden of showing that sovereign immunity has

been waived. See e.g., Hanley v. United States, 1994 U.S. App. LEXIS 30760, at *6 (1st Cir.

Oct. 5, 1994) (unpublished).



                                                  6
               Case 1:23-cv-12025-MRG          Document 31       Filed 03/03/25      Page 7 of 10




               As another session of this Court has observed, without explicit statutory authorization,

      Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388, 91 S. Ct. 1999,

      29 L. Ed. 2d 619 (1971), “provides the sole path for plaintiffs who seek damages from federal

      officials for alleged constitutional violations.” Webb v. United States, Bureau of Prisons, 2011

      U.S. Dist. LEXIS 28208, at *13 (D. Mass. Mar. 18, 2011).4 Moreover, Bivens only authorizes

      lawsuits against federal officers in their individual capacities. Id. Indeed, as the First Circuit

      has explained, Bivens claims cannot be brought against the United States, federal agencies or

      federal officials in their official capacities. Tapia-Tapia v. Potter, 322 F.3d 742, 746 (1st Cir.

      2003).

IV.         Application
               After careful review, the Court concludes that it lacks subject matter jurisdiction over

      Plaintiff’s Eighth Amendment claim against the United States. See e.g., Davallou, 998 F.3d at

      504 (“Federal courts lack subject-matter jurisdiction over claims against the United States absent

      a waiver of sovereign immunity.”) In his response to Defendant’s motion to dismiss, Plaintiff

      made no argument regarding any possibly applicable waiver of sovereign immunity despite it

      being his burden to show that such waiver had occurred. See [ECF No. 20]; Hanley, 1994 U.S.

      App. LEXIS 30760 at *6. Indeed, as the Tenth Circuit recently pointed out, this would have

      been an “impossible” task for Plaintiff in any event. See Askew v. United States, 2024 U.S.

      App. LEXIS 1470, at *7 (10th Cir. Jan. 23, 2024) (explaining that “to survive dismissal of

      his Eighth Amendment claim against the United States on sovereign immunity grounds, [the

      plaintiff] needed to establish that the United States has waived its sovereign immunity with

      respect to that claim. It was impossible for him to do so, because the law is clear that the United



      4
          To be clear, Plaintiff has not alleged any Bivens claim in this case. See [ECF No. 15].
                                                        7
           Case 1:23-cv-12025-MRG            Document 31      Filed 03/03/25      Page 8 of 10




     States has not waived immunity from suit for constitutional claims for damages”) (emphasis

     added and internal citation omitted).

            To ensure that it had liberally construed Plaintiff’s Complaint and understood the nature

     of his legal claim, see Erickson, 551 U.S. at 94, the Court reviewed each of the purportedly

     analogous cases5 that Plaintiff cited in his Complaint [ECF No. 15 at 2]. In none of those case

     was the United States a named Defendant. The Court also considered the possibility that

     Plaintiff mistakenly believed he had sued the BOP, which is a possible reading of Plaintiff’s

     opposition to Defendant’s motion to dismiss. See [ECF No. 20 at 1 (Plaintiff stating that he was

     providing “medical records and additional information demonstrating the clear link between the

     actions of the Bureau of Prisons (BOP) and the deterioration of his right eye vision”)]. However,

     even if Plaintiff had sued BOP for an Eighth Amendment violation, sovereign immunity almost

     certainly would have barred that claim, too. See e.g., Mouzon v. United States, No. 23-CV-

     10911 (PMH), 2024 U.S. Dist. LEXIS 40887, at *3 (S.D.N.Y. Mar. 8, 2024) (“Plaintiff's claims

     against the BOP must be dismissed. The doctrine of sovereign immunity bars federal courts from

     hearing all suits against the federal government, including suits against federal agencies, unless

     sovereign immunity has been waived”) (citations omitted).

V.       Plain Language Summary for Pro Se Plaintiff
            Your Complaint [ECF No. 15] is being dismissed because you may not sue the United

     States of America unless, among other things, you carry your burden of showing that the federal

     government waived its sovereign immunity. Sovereign immunity is a legal principle that the

     government cannot be sued without its consent. As explained below, you are not allowed to



     5
      Plaintiff cited the following cases in his Complaint: Estelle v. Gamble, 429 U.S. 97, 97 S. Ct.
     285 (1976); Farmer v. Brennan, 511 U.S. 825, 114 S. Ct. 1970 (1994), and Leavitt v. Corr. Med.
     Servs., 645 F.3d 484 (1st Cir. 2011).
                                                     8
              Case 1:23-cv-12025-MRG            Document 31        Filed 03/03/25      Page 9 of 10




      amend the Complaint again because (1) amendment would be futile (i.e., in vain or pointless),

      and because (2) you already amended your Complaint. Amendment would be in vain because

      the United States has not waived its sovereign immunity for Eighth Amendment claims. Your

      more definite statement [ECF No. 15] amended and replaced your original complaint [ECF No.

      1].

VI.         Conclusion

               For the foregoing reasons, this case is DISMISSED WITH PREJUDICE for lack of

      subject matter jurisdiction. See Askew, 2024 U.S. App. LEXIS 1470 at *7. Although there is

      some out-of-circuit authority for the proposition that dismissals on sovereign immunity grounds

      should be without prejudice, e.g., Warnock v. Pecos City, 88 F.3d 341, 343 (5th Cir. 1996)

      (“Because sovereign immunity deprives the court of jurisdiction, the claims barred by sovereign

      immunity can be dismissed only under Rule 12(b)(1) and not with prejudice”), dismissal with

      prejudice is appropriate in this case for two independently sufficient reasons.

               First, there appears to be no such rule in this circuit and both the First Circuit and another

      session of this Court have signaled that sovereign immunity-based dismissals with prejudice are

      sometimes appropriate. See e.g., Baez v. Connelly, 478 F. App'x 674, 675 (1st Cir. 2012)

      (unpublished) (“We also find no error in the district court’s dismissal with prejudice of

      the claims against Naylor, Cardello and Kleczkowski in their official capacities. Those claims

      are barred by principles of sovereign immunity”); Mullane v. Mass. Bd. of Bar Exam'rs, 2021

      U.S. Dist. LEXIS 171888, at *15 (D. Mass. Sep. 10, 2021) (ruling that “Counts V and VI

      are dismissed with prejudice given their dismissal on abstention and sovereign

      immunity grounds”).




                                                         9
      Case 1:23-cv-12025-MRG           Document 31        Filed 03/03/25      Page 10 of 10




       Second and more fundamentally, subsequent 6 amendment to the Complaint would be

futile under these circumstances. See Tierney v. United States, 2024 U.S. Dist. LEXIS 226107,

at *7 n.2 (E.D. Pa. Dec. 13, 2024) (“Dismissal with prejudice here is appropriate because

‘amendment would be futile because the United States has not waived its sovereign immunity as

to torts that arise from collection of tax dollars’” (citations omitted); Nino v. United States, 2014

U.S. Dist. LEXIS 142830, at *12 (S.D. Cal. Oct. 6, 2014) (“Plaintiffs do not contend that the

United States has waived its sovereign immunity for violations of the law of nations. Controlling

case law is clear that the United States has not waived its sovereign immunity under the [Alien

Tort Statute]. Because amendment would be futile, dismissal is with prejudice”).

       Finally, the Court hereby certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this

order would not be taken in good faith, and therefore in forma pauperis status is denied for

purposes of an appeal. See e.g., Mouzon, 2024 U.S. Dist. LEXIS 40887 at *4-5 (certifying that

any appeal from an order dismissing a plaintiff’s claim against the BOP under the doctrine of

sovereign immunity would not be taken in good faith).

SO ORDERED.
Dated: March 3, 2025
                                                                           /s/ Margaret R. Guzman
                                                                       MARGARET R. GUZMAN
                                                                       United States District Judge




6
 In dismissing this case with prejudice, the Court is mindful that Plaintiff already amended his
original complaint [ECF No. 1] with his more definite statement (i.e., the Complaint) [ECF No.
15].
                                                 10
